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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


 UNITED STATES OF AMERICA,

              Plaintiff,                          Criminal Case No. 07-20411

       vs.                                        HON. GEORGE CARAM STEEH

 ERNEST HAYES,

            Defendant.
 _____________________________/

                      ORDER DENYING MOTION FOR SENTENCE
                      REDUCTION UNDER 18 U.S.C. § 3582(c)(2)

       Defendant Hayes pleaded guilty to maintaining a drug establishment in violation

 of 21 U.S.C. § 856(a)(1) and was sentenced to 120 months imprisonment in 2009.

 Hayes has filed an unsuccessful 28 U.S.C. § 2255 motion and several unsuccessful

 motions to reduce his sentence based on the amendments to the crack cocaine

 sentencing guidelines. In June 2012, the court prohibited Hayes from filing any further

 "motion or request for reduction in sentence based on the crack guideline amendment."

       On April 1, 2014, Hayes filed a motion for sentence reduction pursuant to 18

 U.S.C. § 3582(c)(2). The court permitted this request under the Sixth Circuit's decision

 in United States v. Jackson, 678 F.3d 442 (6th Cir. 2012), in which the court reduced a

 career offender's sentence based on the crack guideline amendment. The government

 filed its response on April 30, 2014, asserting Jackson does not apply to Hayes' case,

 nor does it compel reduction of his sentence. Hayes did not file a subsequent response.




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 Pursuant to the facts below, the court denies defendant's motion for sentence reduction.

        As the government asserts in its response to the motion for sentence reduction,

 Jackson does not apply to Hayes' case. The court based Hayes' sentence on career

 offender guidelines, not the pre-amendment crack cocaine guideline. The district court

 in Jackson, on the other hand, based the defendant's sentence on the pre-amendment

 crack cocaine guideline. Sixth Circuit cases subsequent to Jackson have rejected its

 application to § 3582(c)(2) motions by defendants sentenced as career offenders, citing

 its unique factual circumstances. See, e.g., United States v. Thompson, 714 F.3d 946,

 949-50 (6th Cir. 2013); United States v. Riley, 726 F.3d 756, 761 (6th Cir. 2013); United

 States v. Tillman, 511 F. App'x 519, 521 (6th Cir. 2013); United States v. Williams, 512

 F. App'x 594, 599-600 (6th Cir. 2013); United States v. Drewery, 531 F. App'x 675,

 681-82 (6th Cir. 2013); United States v. Perdue, 572 F.3d 288, 292 (6th Cir. 2009).

 These cases make clear that the court's reasoning in Jackson does not apply to Hayes.

 They demonstrate that a defendant is only eligible for sentence reduction under 18

 U.S.C. § 3582(c)(2) if his sentence was "based on" the pre-amendment crack cocaine

 guidelines. Where the defendant's sentence was solely determined based on career

 offender guidelines and the minimum sentence exceeds the otherwise applicable

 guideline range, the defendant does not receive the benefit of the amendment and is

 not eligible for sentence reduction.

        Hayes' sentence was not "based on" pre-amendment crack cocaine guidelines,

 but solely on career offender guidelines. Likewise, the downward variance of Hayes'

 sentence from 151-188 months to 120 months was not "based on" the disparity

 between crack and powder cocaine, as it was in Jackson, so that disparity was not a

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 basis for the sentencing. Thus, the court hereby accepts the government's argument

 that the crack guideline amendment had no effect on Hayes' sentence. Hayes' motion

 for sentence reduction is DENIED.

       IT IS SO ORDERED.

 Dated: May 29, 2014
                                            s/George Caram Steeh
                                            GEORGE CARAM STEEH
                                            UNITED STATES DISTRICT JUDGE

                                  CERTIFICATE OF SERVICE

                   Copies of this Order were served upon attorneys of record on
                        May 29, 2014, by electronic and/or ordinary mail.

                                      s/Marcia Beauchemin
                                          Deputy Clerk




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